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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK
                                           2019-cr-127
 USA,
 Plaintiff,

 v.
 Lucio Celli
 Defendants.



 MOTION FOR EVIDENTIARY HEARING AND LIMITED DISCOVERY PURSUANT
 TO BRACY v. GRAMLEY, 520 U.S. 899 (1997), INTO EX PARTE
 COMMUNICATIONS BETWEEN MAGISTRATE LEHRBURGER, SENATOR
 SCHUMER, AND RANDI WEINGARTEN

 PRELIMINARY STATEMENT

 Plaintiff respectfully moves for an evidentiary hearing and limited discovery pursuant to Bracy v.
 Gramley, 520 U.S. 899 (1997), to investigate the existence and influence of undisclosed ex
 parte communications and/or off-the-record meetings between Magistrate Judge Stewart D.
 Lehrburger, Senator Charles Schumer, and Randi Weingarten. These undisclosed
 communications occurred in a context where:

      •   Senator Schumer exercises direct political influence over magistrate reappointment
          processes in the Southern District of New York;
      •   Randi Weingarten, a politically aligned and named party in this case, has deep ties to
          both the Schumer political bloc and court personnel;
      •   Judge Lehrburger presided over key rulings affecting Plaintiff’s access to due process and
          meaningful relief, despite publicly documented and judicially noticeable conflicts of
          interest;
      •   Plaintiff was denied the ability to present evidence, call witnesses, or cross-examine
          participants tied to Weingarten’s political apparatus.

 The totality of these facts provides a non-speculative, factual predicate for discovery and
 a Bracy hearing to uncover the scope of political coordination that infected the tribunal.
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 LEGAL STANDARD

 In Bracy v. Gramley, the Supreme Court held that a habeas petitioner is entitled to discovery and
 an evidentiary hearing where there is a "specific allegation" suggesting judicial bias that may
 have influenced the outcome. 520 U.S. at 908–09. The petitioner need not prove the full extent of
 the bias beforehand—only that the facts alleged, if proven, would show a structural violation of
 due process.

 Subsequent rulings have affirmed the need for courts to investigate "the appearance of bias or
 extrajudicial entanglement," especially where political relationships intersect with judicial
 functions. See Caperton v. A.T. Massey Coal Co., 556 U.S. 868 (2009); Tumey v. Ohio, 273 U.S.
 510 (1927).



 BASIS FOR DISCOVERY AND HEARING
 I. Senator Schumer’s Control Over Lehrburger’s Reappointment Created a Structural
 Incentive for Bias

 Judge Lehrburger was up for reappointment during the period in which Plaintiff’s claims were
 pending. Under the governance procedures of the SDNY, Senator Schumer’s political bloc
 exercises effective veto power over magistrate reappointments. Plaintiff has presented evidence,
 and requests judicial notice, that Randi Weingarten is a political ally of Senator Schumer and has
 appeared at coordinated events, advocacy sessions, and endorsement actions with him.

 This intersection of partisan interest and judicial discretion creates the precise scenario
 that Bracy condemns—where a judge’s career interests align with a party to the case and no
 disclosure is made to the litigant.

 II. Evidence Suggests Undisclosed Coordination Between Lehrburger and Weingarten’s
 Political Network

 Plaintiff has uncovered evidence, both circumstantial and testimonial, suggesting that Judge
 Lehrburger’s decisions—including denial of evidentiary hearings, refusal to allow discovery, and
 suppression of filings implicating Weingarten—were not based on the record, but coordinated
 with external interests. The timing and substance of rulings reflect a pattern of preordained
 outcomes benefitting Weingarten and her political sponsors.

 Plaintiff is informed and believes that off-the-record communications—whether in-person
 meetings, email correspondence, or via intermediaries—took place between Lehrburger,
 Weingarten, and Schumer or his staff. These contacts have never been disclosed.
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 III. Plaintiff Was Denied Meaningful Adversarial Process in a Politically Rigged Tribunal

 Plaintiff’s filings raising misconduct, constitutional violations, and fraud were dismissed or
 suppressed without factual development. Lehrburger’s orders consistently advantaged the
 politically connected parties and denied Plaintiff basic procedural rights—including access to
 evidence and confrontation of key witnesses. These denials align precisely with the bias
 described in Bracy and Caperton, where judicial decisions were corrupted by external influence.



 REQUEST FOR RELIEF

 Plaintiff respectfully requests:

    1. An evidentiary hearing into whether ex parte communications or coordination occurred
       between Magistrate Judge Lehrburger, Randi Weingarten, and Senator Schumer or his
       staff during the pendency of Plaintiff’s proceedings;
    2. Limited discovery including:
           o Judicial conference disclosures;
           o Internal court records relating to magistrate reappointment panels;
           o Communications between chambers staff and any third-party aligned with
               Weingarten or Schumer;
           o Depositions or interrogatories to court officials who may have facilitated contact;
    3. Reassignment of this matter to a neutral Article III judge for all further proceedings;
    4. Any further relief deemed just and appropriate in the interest of judicial integrity.



 CONCLUSION

 This motion is supported by credible facts, constitutional precedent, and longstanding doctrine
 recognizing that even the appearance of judicial bias undermines the legitimacy of the
 court. Bracy entitles Plaintiff to inquiry where there is a reasonable basis to suspect extrajudicial
 influence. The record now surpasses that threshold.

 Respectfully submitted,




 /s/ Lucio Celli
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 DATED: May 22, 2025
 Respectfully submitted,
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 Wappingers Falls, New York 12590
 929-429-0155
 Lucio.Celli.12@gmail.com




 Certificate of Service
 I hereby certify that on [Date], a copy of the foregoing Motion to [Specify Relief Sought] was
 filed electronically. Notice of this filing will be sent by operation of the Court’s electronic
 filing system to all parties indicated on the electronic filing receipt. Parties may access this
 filing through the Court’s system.

 [Attorney's Name]
